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 1                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
 2
       -----------------------------------------------------------
 3                                       )
        United States of America,        ) File No. 20CR232(13)
 4                                       )      (JRT/KMM)
                Plaintiff,               )
 5                                       )
        vs.                              ) St. Paul, Minnesota
 6                                       ) November 13, 2020
        Bryant Jarode Critten,           ) 10:00 A.M.
 7                                       )
                Defendant.               )
 8                                       )
       -----------------------------------------------------------
 9
                 BEFORE THE HONORABLE JUDGE PAUL A. MAGNUSON
10                      UNITED STATES DISTRICT COURT
                (CHANGE OF PLEA HEARING VIA VIDEO CONFERENCE)
11
       APPEARANCES
12      For the Plaintiff:             United States Attorney's Office
                                       HARRY JACOBS, AUSA
13                                     300 South Fourth Street
                                       Suite 600
14                                     Minneapolis, MN 55415

15       For the Defendant:            Caplan & Tamburnino
                                       JILL A. BRISBOIS, ESQ.
16                                     10 South Fifth Street
                                       Suite 525
17                                     Minneapolis, MN 55402

18       Court Reporter:               KRISTINE MOUSSEAU, CRR-RPR
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19                                     Box 1005
                                       Minneapolis, MN 55415
20

21

22
           Proceedings recorded by mechanical stenography;
23     transcript produced by computer.

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25



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 1                                  10:00 A.M.

 2

 3                 (In open court via video conference.)

 4                 THE COURT:    Good morning, everyone.      We have the

 5     matter of the United States versus Critten for a plea, and

 6     may we have the defendant sworn, please.         I'll do it.

 7                 Mr. Critten, if you would raise your right hand,

 8     please.

 9                 THE DEFENDANT:     Yes, sir.

10                              (Defendant sworn.)

11                 THE DEFENDANT:     Yes, sir.

12                 THE COURT:    Okay.   Thank you.    You have to

13     understand, Mr. Critten, that because you are under oath,

14     testimony given today must be truthful, and lack of truth

15     could result in serious charges of perjury or other things.

16                 Now, at this point because we're dealing with

17     what we anticipate to be a plea, I'm going to ask

18     Mr. Jacobs to summarize the plea agreement for the record.

19     You don't need to go into the factual basis at this point

20     because we'll go into that later, but if you would

21     summarize the plea agreement for the record and submit it

22     to the Court, please.

23                 MR. JACOBS:    Thank you, Your Honor.      I believe we

24     tendered a signed copy of the plea agreement to the Court

25     yesterday virtually, but I will go through the plea



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 1     agreement now.

 2                 The defendant agrees to plead guilty to Count 1

 3     of the indictment which charges him with conspiracy to

 4     commit mail fraud in violation of 18 U.S.C. 1341, 1349 and

 5     2326.   The defendant fully understands the nature and the

 6     elements of these charges.       I will come back to the factual

 7     basis, Your Honor.

 8                 The plea agreement contains a waiver of pretrial

 9     motions.    The defendant understands and agrees that he has

10     the right to file pretrial motions, and he gives up those

11     rights pursuant to this plea agreement.         The defendant

12     understands that he is waiving his constitutional trial

13     rights.

14                 Defendant understands he has the right to go to

15     trial and he would be presumed innocent at trial.           He would

16     have the right to a trial by jury and the right to

17     assistance of counsel.      He gives up these rights pursuant

18     to this plea agreement, and he does so knowingly and

19     voluntarily.

20                 Paragraph 5 of the plea agreement deals with

21     additional consequences.       He understands that as a result

22     of the conviction, he could experience additional

23     consequences, including the loss of the right to carry a

24     firearm, the right to vote or the right to hold public

25     office.



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 1                 Paragraph 6 of the plea agreement deals with the

 2     statutory penalties pursuant to the charges of conspiracy

 3     to commit mail fraud in violation of 18 U.S.C. 1341, 1349

 4     and 2326.

 5                 There is a statutory maximum of 30 years in

 6     prison, a supervised release term of not more than five

 7     years, a maximum fine of $250,000 or twice the gross gain

 8     or loss caused by this offense, restitution as agreed to by

 9     the parties, which I will discuss momentarily, and a

10     mandatory special assessment of $100.

11                 Paragraph 7 of the plea agreement deals with

12     guideline calculations.      The base offense level in this

13     case is 7 pursuant to Guidelines Section 2B1.1A1.           There

14     are several specific offense characteristics here.

15                 The parties pursuant to the plea agreement agree

16     that the base offense level will be increased by 18 levels

17     because the loss amount in this case is greater than 3.5

18     million but less than 3.9 million.        The parties also agree

19     that the base offense level should be increased by two

20     levels because the offense involved ten or more victims and

21     was committed through mass marketing.

22                 The parties agree that no additional specific

23     offense characteristics apply.        With respect to Chapter 3

24     adjustments, the parties agree that the offense level

25     should be increased by four levels because Mr. Critten knew



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 1     or should have known that the offense involved a large

 2     number of vulnerable victims, and the parties agree that

 3     the offense level should be increased by two levels because

 4     the defendant was a manager or supervisor of the criminal

 5     activity here.

 6                  The parties also agree that the government will

 7     recommend that the defendant receive a two-level reduction

 8     for acceptance of responsibility pursuant -- assuming that

 9     he continues to abide by the conditions of the plea

10     agreement and his conditions of release.

11                  The government also agrees that assuming he

12     continues to do those things, it will move for an

13     additional one level reduction at the time of sentencing.

14                  Pursuant to the plea agreement, the parties

15     believe based on information known at this time that

16     Mr. Critten falls into a Criminal History Category of I.

17     That is just a stipulation -- that is just based on the

18     agreement.

19                  That is not a stipulation but based on

20     information known to the parties at this time, and based on

21     the information that I have just discussed contained in the

22     plea agreement, the guideline range here based on the

23     adjusted offense level of 30 and a Criminal History

24     Category of I, the sentencing guideline range is 97 to 121

25     months imprisonment.



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 1                 And there is a corresponding fine range based on

 2     the adjusted offense level of $30,000 to $300,000.

 3     Paragraph 8 -- paragraph 8 of the plea agreement deals with

 4     revocation of supervised release.        The defendant

 5     understands that if he were to violate any condition of his

 6     supervised release, he could be sentenced to an additional

 7     term of imprisonment.

 8                 Paragraph 9 of the plea agreement discusses

 9     discretion of the Court.       The defendant understands that

10     the terms of the plea agreement are binding on himself and

11     the government only, that the plea agreement does not bind

12     the Court and that the sentencing guidelines are advisory

13     here and the Court will make its own determination as to

14     the applicable guideline ranges, as well as the sentencing

15     term.

16                 Paragraph 10 deals with agreements for sentencing

17     recommendations.     The defendant understands that both

18     parties are free to recommend whatever sentence they deem

19     appropriate.     Either party can make a motion for departure

20     as to the applicable guideline range.

21                 Paragraph 11 deals with the special assessment.

22     The defendant understands that he will be required to pay a

23     special assessment in the amount of $100, and he agrees to

24     do so before the time of sentencing.

25                 Paragraph 12 of the plea agreement deals with



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 1     restitution.     The defendant understands and agrees that the

 2     mandatory Victim Restitution Act applies in this case, and

 3     he agrees to pay $50,000 in restitution to all identified

 4     victims in this and other related cases.

 5                 Paragraph 13 deals with disclosure of assets.

 6     The defendant agrees to completely disclose to the U. S.

 7     Attorney's Office the existence of any assets in advance of

 8     his sentencing hearing.

 9                 Paragraph 14 of the plea agreement deals with

10     forfeiture.    The defendant agrees to forfeit to the United

11     States any property which was derived or traceable to the

12     mail fraud conspiracy scheme charged in Count 1 of this

13     indictment.

14                 Paragraph 15 of the plea agreement is a venue

15     waiver, Your Honor.      In exchange for the consideration of

16     this plea agreement, the defendant waives all rights to

17     challenge venue in the state and District of Minnesota and

18     does so knowingly and voluntarily.

19                 Paragraph 16 is a waiver of appeal and collateral

20     attack.    The defendant pursuant to the plea agreement

21     waives the right to appeal any non-jurisdictional issues

22     relating to this case, and this appeal includes the

23     defendant's waiver of his right to appeal a guilt or

24     innocence sentence or restitution.

25                 However, the parties do agree pursuant to the



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 1     plea agreement that this waiver of appeal does not apply to

 2     an appeal of the substantive reasonableness of a term of

 3     imprisonment greater than 121 months, which is the high end

 4     of the guideline range, and the reciprocal waiver of the

 5     government as to a term of imprisonment below 97 months,

 6     which is the low end of the guideline range.

 7                  In addition, the plea agreement waives the right

 8     to any collateral attack under 28 U.S.C. 2255.          Chapter --

 9     excuse me.    Paragraph 17 of the plea agreement is a Freedom

10     of Information Act waiver.         The defendant pursuant to this

11     plea agreement waives his right to obtain information

12     pursuant to the Freedom of Information Act.

13                  Your Honor, and finally, paragraph 18 is a

14     complete agreement.       The defendant pursuant to that

15     paragraph acknowledges that he has read the plea agreement,

16     that he has reviewed it with his counsel and that he

17     understands the plea agreement and that this agreement,

18     along with any additional agreements signed by the parties

19     before the entrance of this plea, is the entire agreement

20     and understanding between the defendant and the United

21     States of America.

22                  THE COURT:    Okay.    Thank you very much.

23                  Mr. Critten, it's my understanding that you have

24     in fact executed this plea agreement; is that correct?

25                  THE DEFENDANT:    Yes, sir.



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 1                 THE COURT:    And have you had opportunity to

 2     review the plea agreement with your lawyer, Ms. Brisbois,

 3     just literally paragraph by paragraph?

 4                 THE DEFENDANT:     Yes, sir.

 5                 THE COURT:    You understand all the terms and

 6     conditions of this plea agreement?

 7                 THE DEFENDANT:     Yes, sir.

 8                 THE COURT:    And have you voluntarily entered into

 9     this plea agreement?

10                 THE DEFENDANT:     Yes, sir.

11                 THE COURT:    Now, you understand, Mr. Critten, if

12     you did not have the plea agreement and the matter went

13     through trial, et cetera, you could be facing an

14     imprisonment term of up to 30 years, to be followed by a

15     term of supervised release.

16                 That supervised release means that you are

17     supervised under terms and conditions.         If you violate

18     those terms and conditions, you could be put back in prison

19     for the length of term of that supervised release.

20                 You're facing a fine of $250,000 pursuant to the

21     statute, and because of the gross nature, another $50,000

22     for a total fine of $300,000.

23                 The next one is a "will."      You will be assessed a

24     $100 special assessment, and can pay restitutions as agreed

25     to by the parties.      Do you understand all of that?



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 1                  THE DEFENDANT:    Yes, sir.

 2                  THE COURT:   Now, aside from this plea agreement

 3      itself, have there been any other promises made as to what

 4      the Court would do at sentencing?        In other words, are

 5      there any side deals?

 6                  THE DEFENDANT:    No, sir.

 7                  THE COURT:   You understand that I need not accept

 8      this plea unless I'm satisfied of two things.         One, that

 9      you fully understand your constitutional rights; and two,

10      that you're actually guilty of the offense charged.

11                  Do you understand that?

12                  THE DEFENDANT:    Yes, sir.

13                  THE COURT:   Do you further understand that -- and

14      let's go over these constitutional rights first.          First of

15      all, do you understand that you have a right to be

16      represented by a lawyer at every stage of the proceeding?

17      If you cannot afford a lawyer, a lawyer will be appointed

18      on your behalf.

19                  Do you understand that?

20                  THE DEFENDANT:    Yes, sir.

21                  THE COURT:   Do you further understand you have a

22      right to plead not guilty, to persist in that plea of not

23      guilty and have your case go forward to trial?

24                  THE DEFENDANT:    Yes, sir.

25                  THE COURT:   Do you also understand that you have



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 1      a right to a speedy trial?      It's a trial within 70 days of

 2      the date of your indictment.       Do you understand that?

 3                   THE DEFENDANT:   Yes, sir.

 4                   THE COURT:   Do you further understand that you

 5      have a right to a trial by a jury of twelve persons.            They

 6      must unanimously agree that you're guilty before you can be

 7      convicted.    Do you understand that?

 8                   THE DEFENDANT:   Yes, sir.

 9                   THE COURT:   Do you further understand that you

10      have the right to assistance of counsel at trial?

11      Ms. Brisbois could be with you at all times during a trial.

12                   THE DEFENDANT:   Yes, sir.

13                   THE COURT:   Do you also understand that at that

14      trial, you would have a right to cross-examine and confront

15      any witnesses called against you?

16                   THE DEFENDANT:   Yes, sir.

17                   THE COURT:   Do you further understand that you

18      are in fact presumed innocent until actually proven guilty?

19                   THE DEFENDANT:   Yes, sir.

20                   THE COURT:   Do you also understand the government

21      must prove its case against you beyond a reasonable doubt?

22                   THE DEFENDANT:   Yes, sir.

23                   THE COURT:   Do you further understand that at a

24      trial you would have a right to take the witness stand,

25      testify and tell your side of the story?



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 1                  THE DEFENDANT:    Yes, sir.

 2                  THE COURT:   Do you also understand that you

 3      cannot be compelled to incriminate yourself?         You have an

 4      absolute right to remain silent, and after you talked it

 5      over with Ms. Brisbois, if you decided not to testify, that

 6      Mr. Jacobs or whoever is prosecuting the case would be

 7      prohibited from commenting to the jury about your failure

 8      to testify.

 9                  Do you understand all of that?

10                  THE DEFENDANT:    Yes, sir.

11                  THE COURT:   Do you further understand you have a

12      right to compulsory process or subpoena power to bring any

13      witnesses in on your own behalf?

14                  THE DEFENDANT:    Yes, sir.

15                  THE COURT:   Now, you understand, Mr. Critten,

16      that if this plea is accepted, there will not be a trial of

17      any kind.    Do you understand that?

18                  THE DEFENDANT:    Yes, sir.

19                  THE COURT:   Do you further understand that

20      pursuant to this plea agreement, there is severe

21      limitations on your right to appeal any aspect of this.         Do

22      you understand that?

23                  THE DEFENDANT:    Yes, sir.

24                  THE COURT:   Now, there is one possibility I think

25      of appeal, and that is if I were to sentence above the



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 1      guidelines without a reason or if I were to make a mistake

 2      in the guidelines or something of that nature, you would

 3      have the right to appeal, but it's an extremely limited

 4      right.

 5                   Do you understand that?

 6                   THE DEFENDANT:   Yes, sir.

 7                   THE COURT:   Now, in addition to that, you

 8      understand that if you were to take such an appeal, you

 9      have to do so within 14 days of the date of your

10      sentencing.    Do you understand that, or give notice of that

11      within 14 days of the date of your sentencing.

12                   Do you understand that?

13                   THE DEFENDANT:   Yes, sir.

14                   THE COURT:   Now, we've gone over a whole series

15      of rights.    Do you have any questions about any of them?

16                   THE DEFENDANT:   No, sir.

17                   THE COURT:   Do you understand these rights?

18                   THE DEFENDANT:   Yes, sir.

19                   THE COURT:   And you voluntarily waive these

20      rights?

21                   THE DEFENDANT:   Yes, sir.

22                   THE COURT:   Now, again, has there been any force

23      or threats or promises made apart from the plea agreement

24      itself?

25                   THE DEFENDANT:   No, sir.



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 1                   THE COURT:   Have you had any drugs or alcohol in

 2      the last 24 hours?

 3                   THE DEFENDANT:   No, sir.

 4                   THE COURT:   Have you had sufficient time to

 5      confer with your lawyer, Ms. Brisbois?

 6                   THE DEFENDANT:   Yes, sir.

 7                   THE COURT:   And has she done a good job on your

 8      behalf?   Are you satisfied with her representation?

 9                   THE DEFENDANT:   Yes, sir.

10                   THE COURT:   Now, there is one other factor that I

11      should mention, I think, Mr. Critten, for you to understand

12      that this case is assigned to Chief Judge Tunheim, and I'm

13      just kind of filling in for him and taking some pleas,

14      et cetera.

15                   There have been no arrangements made as to who

16      the sentencing judge would be.       The case remains assigned

17      to Judge Tunheim, so it may be that I would pass sentence

18      on your case.    It may be that Judge Tunheim would pass on

19      the sentence on your case.

20                   In either event, both of us have Article III

21      status and are entitled to do that, to pass that sentence.

22      Do you understand that?

23                   THE DEFENDANT:   Yes, sir.

24                   THE COURT:   Now, I think we're now at the point

25      that we can look to the mail fraud count.         How do you



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 1      plead, guilty or not guilty?

 2                  THE DEFENDANT:    Guilty.

 3                  THE COURT:    Okay.   And, Mr. Jacobs, would you be

 4      kind enough to inquire as to the facts of the case, please?

 5                  MR. JACOBS:    Certainly, Your Honor.      Thank you.

 6                  Good morning, Mr. Critten.

 7                  THE DEFENDANT:    Good morning.

 8                  MR. JACOBS:    If at any point you can't hear me or

 9      you need me to repeat a question, please let me know, and

10      I'm happy to do so.      Mr. Critten, from in or about at least

11      August of 2013 through in or about February of 2020, were

12      you employed at a company called Leisure Time Resources?

13                  THE DEFENDANT:    Yes, sir.

14                  MR. JACOBS:    If I refer to that company as LTR,

15      will you understand what I'm talking about?

16                  THE DEFENDANT:    Yes, sir.

17                  MR. JACOBS:    In the state and District of

18      Minnesota during that time period, did you knowingly

19      conspire with others to devise a scheme and artifice to

20      defraud and to obtain money by materially false and

21      fraudulent pretenses?

22                  THE DEFENDANT:    Yes, sir.

23                  MR. JACOBS:    Was that scheme to defraud in

24      connection with telemarketing?

25                  THE DEFENDANT:    Yes, sir.



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 1                  MR. JACOBS:    Did that scheme to defraud victimize

 2      10 or more people over the age of 55?

 3                  THE DEFENDANT:    Yes, sir.

 4                  MR. JACOBS:    For the purpose of executing that

 5      scheme, was there cause to be the sending, delivery or

 6      receipt of mail through the United States Postal Service?

 7                  THE DEFENDANT:    Yes, sir.

 8                  MR. JACOBS:    Now I'll talk a little bit more

 9      specifically about the fraud here.        Did you participate in

10      the telemarketing fraud scheme involving magazine

11      subscription sales?

12                  THE DEFENDANT:    Yes, sir.

13                  MR. JACOBS:    Did you work as a telemarketing for

14      LTR?

15                  THE DEFENDANT:    Yes, sir.

16                  MR. JACOBS:    Is LTR a Florida based company

17      involved in fraudulent magazine sales?

18                  THE DEFENDANT:    Yes, sir.

19                  MR. JACOBS:    Is LTR owned and operated by

20      codefendants Anthony Moulder and John Blalock?

21                  THE DEFENDANT:    Yes, sir.

22                  MR. JACOBS:    Did LTR operate and did you work at

23      a telemarketing call center in Cape Coral, Florida?

24                  THE DEFENDANT:    Yes, sir.

25                  MR. JACOBS:    In committing this scheme to



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 1      defraud, would you and others at the company use fraudulent

 2      sales scripts to defraud victims?

 3                  THE DEFENDANT:    Yes, sir.

 4                  MR. JACOBS:    Were many of those victims elderly

 5      or otherwise vulnerable?

 6                  THE DEFENDANT:    Yes, sir.

 7                  MR. JACOBS:    Were the fraudulent sales scripts

 8      designed to induce victims to make large or repeat payments

 9      to LTR and other companies?

10                  THE DEFENDANT:    Yes, sir.

11                  MR. JACOBS:    Would the company obtain lists of

12      consumers who had active magazine subscriptions through

13      other companies?

14                  THE DEFENDANT:    Yes, sir.

15                  MR. JACOBS:    Were these referred to sometimes as

16      lead lists?

17                  THE DEFENDANT:    Yes, sir.

18                  MR. JACOBS:    Would you and other telemarketers at

19      that company then call individuals on those lead lists?

20                  THE DEFENDANT:    Yes, sir.

21                  MR. JACOBS:    And would you use the fraudulent

22      sales scripts that we had just discussed?

23                  THE DEFENDANT:    Yes, sir.

24                  MR. JACOBS:    And would you make a series of

25      knowing lies and misrepresentations to sign them up for a



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 1      new magazine subscription?

 2                   THE DEFENDANT:   Yes, sir.

 3                   MR. JACOBS:   Would you and others at the company

 4      claim that you were calling from the victim consumer's

 5      existing magazine company?

 6                   THE DEFENDANT:   Yes, sir.

 7                   MR. JACOBS:   But was that true?

 8                   THE DEFENDANT:   No, sir.

 9                   MR. JACOBS:   Would you and other telemarketers at

10      the company claim that the victim's account was set to

11      renew for a 60-month term at midnight?

12                   THE DEFENDANT:   Yes, sir.

13                   MR. JACOBS:   Was that true?

14                   THE DEFENDANT:   No, sir.

15                   MR. JACOBS:   Would you and other telemarketers

16      offer to take this so-called automatic renewal off the

17      account?

18                   THE DEFENDANT:   Yes, sir.

19                   MR. JACOBS:   Would you claim or offer to reduce

20      the victim consumer's monthly magazine payment?

21                   THE DEFENDANT:   Yes, sir.

22                   MR. JACOBS:   But in reality, did LTR have any

23      existing relationship typically with these victim

24      consumers?

25                   THE DEFENDANT:   No, sir.



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 1                  MR. JACOBS:    Instead did you or other

 2      telemarketers call to trick them into unwittingly signing

 3      up for a new magazine subscription?

 4                  THE DEFENDANT:    Yes, sir.

 5                  MR. JACOBS:    In the course of this ongoing

 6      scheme, did telemarketers from LTR and the owners of LTR

 7      defraud thousands of victims?

 8                  THE DEFENDANT:    Yes, sir.

 9                  THE COURT:    Were at least 10 of those victims

10      over the age of 55?

11                  THE DEFENDANT:    Yes, sir.

12                  MR. JACOBS:    In between August 2013 and February

13      2020, did LTR collect approximately $9,465,000 from victims

14      as a result of this fraudulent scheme?

15                  THE DEFENDANT:    Yes, sir.

16                  MR. JACOBS:    Mr. Critten, are you pleading guilty

17      today knowingly and voluntarily?

18                  THE DEFENDANT:    Yes, sir.

19                  MR. JACOBS:    Are you pleading guilty today

20      because you are in fact guilty of the charges in the

21      indictment?

22                  THE DEFENDANT:    Yes, sir.

23                  MR. JACOBS:    Thank you, Mr. Critten.

24                  Your Honor, I have nothing further on the factual

25      basis.



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 1                   THE COURT:   Okay.   Excuse me.    Okay.    Thank you

 2      very much.

 3                   Mr. Critten, based upon the testimony presented

 4      in the matter, the Court does find that you are actually

 5      guilty of the offense charged in this matter.           I do at this

 6      time order a presentence investigation report, ask that the

 7      probation service prepare that report, submit it to the

 8      Court.

 9                   I have to tell you, Mr. Critten, because of the

10      large number of defendants that, codefendants in this

11      matter, it may be some time until sentencing in fact will

12      be executed.

13                   I just can't give you any assurances about that

14      one way or another because quite honestly, I have not

15      talked to the probation department about how they wish to

16      proceed in it, and I have not talked to Judge Tunheim about

17      how he wishes to proceed.

18                   So I'm just going to leave any sentencing date

19      open, and subject to your being advised, suggest that you

20      remain on bond according to current terms and conditions

21      pending sentencing in the matter, but I do have to let you

22      know that once sentencing has been determined, it's

23      extremely important that you appear at that sentencing.

24                   Failure to appear can result in another very

25      serious crime and in addition to the matter before us, and



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 1      therefore you need to be sure that you do appear.

 2                  Are there any other matters to come to our

 3      attention at this time?

 4                  MR. JACOBS:     None from the government, Your

 5      Honor.

 6                  MS. BRISBOIS:    No, Your Honor.

 7                  THE COURT:    Ms. Brisbois?

 8                  MS. BRISBOIS:    No, Your Honor.

 9                  THE COURT:    Okay.   We thank you very much.       We

10      will in any event stand in recess at this time.

11                  Ms. Brisbois, I think this is the first time I

12      have had the privilege of having you in the court.          You

13      happen to share a surname with a very fine jurist in

14      Duluth.

15                  Is there any relationship?

16                  MS. BRISBOIS:    There is not.

17                  THE COURT:    It would be worthwhile.

18                  MS. BRISBOIS:    Yeah.

19                  THE COURT:    Very good.   Thank you very much.          I

20      just honestly did not know.

21                  Say hi to Mr. Tamburnino.

22                  MS. BRISBOIS:    I will.

23                  THE COURT:    And thank all of you for being with

24      us today.

25                  MS. BRISBOIS:    Thank you, Your Honor.



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 1                  THE COURT:     We are in recess.

 2                  MR. JACOBS:     Thank you, Your Honor.

 3                  MS. BRISBOIS:     Thank you, Your Honor.

 4                           (Court was adjourned.)

 5                             *         *           *

 6                  I, Kristine Mousseau, certify that the foregoing

 7      is a correct transcript from the record of proceedings in

 8      the above-entitled matter.

 9

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11

12          Certified by:     s/   Kristine Mousseau, CRR-RPR
                                     Kristine Mousseau, CRR-RPR
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